
670 So.2d 196 (1996)
P.J., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 94-2639.
District Court of Appeal of Florida, Fifth District.
March 29, 1996.
James B. Gibson, Public Defender, and Erin J. O'Leary, Assistant Public Defender, Daytona Beach, for Appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and Timothy D. Wilson, Assistant Attorney General, Daytona Beach, for Appellee.
HARRIS, Judge.
We affirm the trial court's adjudication of the appellant as a delinquent and her commitment to the Department of Juvenile Justice at level six. See I.H. v. State, 584 So.2d 230 (Fla. 5th DCA 1991); R.G.S. v. State, 597 So.2d 816 (Fla. 2d DCA), rev. denied, 601 So.2d 553 (Fla.1992).
Regarding the imposition of the public defender lien, the record discloses it was imposed without apprising P.J. of his right to challenge the amount, in violation of Florida Rule of Criminal Procedure 3.720(d)(1). Consequently, the lien must be stricken without prejudice to its reimposition after compliance with the rule. Fontenont v. State, 631 So.2d 379 (Fla. 5th DCA 1994).
AFFIRMED in part; Lien STRICKEN; REMANDED.
DAUKSCH and ANTOON, JJ., concur.
